         Case 1:21-cv-00263-N/A Document 4                Filed 05/27/21   Page 1 of 11




             UNITED STATES COURT OF INTERNATIONAL TRADE
________________________________________________
GLOBAL FOOD TRADING CORP.                        :
                                                 :
Plaintiff,                                       :
                                                 : COURT NO. 21-cv-00263
v.                                               :
                                                 :
UNITED STATES OF AMERICA and                     :
U.S. CUSTOMS AND BORDER PROTECTION,              :
                                                 :
Defendants.                                      :
_________________________________________________

                                         COMPLAINT


       Plaintiff Global Food Trading Corp. (“Plaintiff GFTC”), by and through its attorneys The

Obert Law Firm, P.L.L.C., allege and state as follows:


                  ADMINISTRATIVE DECISIONS TO BE REVIEWED


1. Plaintiff GFTC brings this action pursuant to 28 U.S.C. §1581(a) and Section 1515 of the

   Tariff Act (19 U.S.C. §1515) to contest Defendant U.S. Customs and Border Protection’s

   (“Defendant CBP”) decisions to deny Protest numbers 460120118015 and 460120118016

   (“Protest” or “Protests”), as also listed in the Summons, filed by Plaintiff GFTC pursuant to

   19 U.S.C. §1514. Plaintiff GFTC challenges Defendant CBP’s wrongful tariff classification

   of the subject merchandise and related assessment and collection of tariff amounts on behalf

   of Defendant United States pursuant to Section 301 of the Trade Act of 1974, 19 U.S.C.

   §2411 (“Section 301 Tariffs”).

                                          JURISDICTION

2. The Court has jurisdiction over this matter pursuant to 28 U.S.C. §1581(a), which provides

   that “[t]he Court of International Trade shall have exclusive jurisdiction of any civil action



                                           Page 1 of 11
         Case 1:21-cv-00263-N/A Document 4                Filed 05/27/21   Page 2 of 11




   commenced to contest the denial of a protest, in whole or in part, under section 515 of the

   Tariff Act of 1930.” Plaintiff GFTC’s Protest numbers 460120118015 and 460120118016

   were denied pursuant to 19 U.S.C. § 1515(b). Jurisdiction in this Court is, therefore, proper

   under 28 U.S.C. §1581(a).


                                            PARTIES


3. Plaintiff GFTC is a privately owned importer and distributor of frozen seafood. Plaintiff

   GFTC is the importer of record for the entries covered by the Protests.

4. Defendant United States of America received Plaintiff GFTC’s payments of the disputed

   amounts and is the statutory defendant under 28 U.S.C. §1581(a).

5. Defendant CBP is the agency of the Defendant United States tasked with the classification

   and collection of duties and tariffs of imported goods. Defendant CBP collected the disputed

   amounts at issue herein on behalf of Defendant United States.


                                           STANDING


6. Plaintiff GFTC has standing to bring this action as the importer of record that filed the

   Protests pursuant to 19 U.S.C. §1514 and is the real party in interest with respect to the

   denied Protests and respective import entries covered thereunder.

7. Accordingly, Plaintiff has standing to commence this action pursuant to 28 U.S.C. §2631(a).

                                TIMELINESS OF THIS ACTION

8. Defendant CBP denied Protest number 460120118015 (covering entry numbers H77-

   0178170-7 and H77-0178171-5) and Protest No. 460120118016 (covering entry number

   H77-0174660-1) on December 2, 2020 (“Protest Denials”).




                                           Page 2 of 11
         Case 1:21-cv-00263-N/A Document 4                 Filed 05/27/21   Page 3 of 11




9. All liquidated duties, taxes and charges have been paid on the entries covered by the Protests

   prior to commencement of this action.

10. Thus, Plaintiff has timely filed the Summons with this Court pursuant to 28 U.S.C. §2636(a)

   and Rules 3(a)(1) of the Rules of the U.S. Court of International Trade, by filing a summons

   within 180 days of Defendant CBP’s denials of the Protests.


        BACKGROUND AND DESCIPTION OF MERCHANDSIE AND CLAIMS


11. The merchandise at issue constitutes a portion of the merchandise imported under the subject

   entries at issue and consists of certain frozen tilapia fillets from The People’s Republic of

   China (“China”) weighing between 3-4 ounces (85.05–113.4 grams) (“Merchandise”).

12. The Merchandise was imported into the United States by Plaintiff GFTC under cover of entry

   number H77-0174660-1 on March 4, 2019 through the Port of New York/Newark, New

   Jersey (Port code 4601).

13. The Merchandise entered under cover of entry number H77-0174660-1 consists of 2,931

   cartons of 3-4 ounce (85.05–113.4 grams) frozen tilapia fillets.

14. At time of entry, Plaintiff GFTC inadvertently classified all imported frozen tilapia fillets

   covered by entry number H77-0174660-1, including the Merchandise, under subheading

   0303.23.0000 Harmonized Tariff Schedule of the United States, 19 U.S.C. §1202

   (hereinafter, “HTSUS”), which provides for “[f]ish, frozen, excluding fish fillets and other

   fish meat of heading 0304:.... Tilapias (Oreochromis spp.), catfish (Pangasius spp., Silurus

   spp., Clarias spp., Ictalurus spp.), carp (Cyprinus carpio, Carassius carassius,

   Ctenopharygodon idellus, Hypophthalmichthys spp. Cirrhinus spp., Mylopharyngodon

   piceus), eels (Anguilla spp.), Nile perch (Lates niloticus) and snakeheads (Channa spp.),




                                            Page 3 of 11
        Case 1:21-cv-00263-N/A Document 4                 Filed 05/27/21   Page 4 of 11




   excluding livers and roes:... Tilapias (Oreochromis spp.):....” Merchandise classifiable under

   subheading 0303.23.0000, HTSUS is subject to a column 1 “General” duty rate of “FREE”

   upon entry into the United States.

15. The Merchandise covered by entry number H77-0174660-1 should have been classified at

   time of entry under subheading under subheading 0304.61.0000, HTSUS, which provides for

   “[f]rozen fillets of tilapias (Oreochromis spp.), catfish (Pangasius spp., Silurus spp., Clarias

   spp., Ictalurus spp.), carp (Cyprinus carpio, Carassius carassius, Ctenopharygodon idellus,

   Hypophthalmichthys spp., Cirrhinus spp., Mylopharyngodon piceus), eels (Anguilla spp.),

   Nile perch (Lates niloticus) and snakeheads (Channa spp.):… Tilapias (Oreochromis

   spp.):...” Merchandise classifiable under subheading 0304.61.0000, HTSUS is subject to a

   column 1 “General” duty rate of “FREE” upon entry into the United States.

16. As products of China classified under subheading 0303.23.0000, HTSUS (and correct

   subheading 0304.61.0000, HTSUS), Plaintiff GFTC was required to simultaneously classify

   all imported frozen tilapia fillets, including the Merchandise, covered by entry number H77-

   0174660-1 under the corresponding heading 9903.88.03, HTSUS, pursuant to the Office of

   The United States Trade Representative’s (“USTR”) September 21, 2018 Notice[s] of

   Modification of Section 301 Action: China’s Acts, Policies, and Practices Related to

   Technology Transfer, Intellectual Property, and Innovation (Federal Register - 83 FR 47974

   (September 21, 2018)) (“2018 NOM”) and subject to the associated 10 percent ad valorem

   Section 301 Tariffs.

17. With respect to the Merchandise covered by entry number H77-0174660-1, Plaintiff GFTC

   paid to Defendant United States, through its agent, Defendant CBP, Section 301 Tariffs in

   the amount of $4,191.33.




                                           Page 4 of 11
         Case 1:21-cv-00263-N/A Document 4                Filed 05/27/21   Page 5 of 11




18. The Merchandise was imported into the United States by Plaintiff GFTC under cover of entry

   numbers H77-0178170-7 and H77-0178171-5 on August 6, 2019 through the Port of New

   York/Newark, New Jersey (Port code 4601).

19. The Merchandise entered under cover of entry number H77-0178170-7 consists of 1,730

   cartons of 3-4 ounce (85.05–113.4 grams) frozen tilapia fillets.

20. The Merchandise entered under cover of entry number H77-0178171-5 consists of 1,959

   cartons of 3-4 ounce (85.05–113.4 grams) frozen tilapia fillets.

21. The Merchandise covered by entry numbers H77-0178170-7 and H77-0178171-5 was

   properly classified at time of entry under subheading 0304.61.0000, HTSUS, which provides

   for “[f]rozen fillets of tilapias (Oreochromis spp.), catfish (Pangasius spp., Silurus spp.,

   Clarias spp., Ictalurus spp.), carp (Cyprinus carpio, Carassius carassius, Ctenopharygodon

   idellus, Hypophthalmichthys spp., Cirrhinus spp., Mylopharyngodon piceus), eels (Anguilla

   spp.), Nile perch (Lates niloticus) and snakeheads (Channa spp.):… Tilapias (Oreochromis

   spp.):...” Merchandise classifiable under subheading 0304.61.0000, HTSUS is subject to a

   column 1 “General” duty rate of “FREE” upon entry into the United States.

22. As products of China classified under subheading 0304.61.0000, HTSUS, Plaintiff GFTC

   was required to simultaneously classify all imported frozen tilapia fillets, including the

   Merchandise, covered by entry numbers H77-0178170-7 and H77-0178171-5 under the

   corresponding heading 9903.88.03, HTSUS, pursuant to the USTR’s September 21, 2018

   NOM and May 9, 2019 Notice of Modification of Section 301 Action: China’s Acts, Policies,

   and Practices Related to Technology Transfer, Intellectual Property, and Innovation (Federal

   Register - 84 FR 20459 (May 9, 2019)) and subject to the associated 25 percent ad valorem

   Section 301 Tariffs.




                                           Page 5 of 11
         Case 1:21-cv-00263-N/A Document 4              Filed 05/27/21   Page 6 of 11




23. With respect to the Merchandise covered by entry number H77-0178170-7, Plaintiff GFTC

   paid to Defendant United States, through its agent, Defendant CBP, Section 301 Tariffs in

   the amount of $6,530.75.

24. With respect to the Merchandise covered by entry number H77-0178171-5, Plaintiff GFTC

   paid to Defendant United States, through its agent, Defendant CBP, Section 301 Tariffs in

   the amount of $7,395.23.

25. On January 31, 2020, Defendant CBP liquidated entry number H77-0174660-1 at the rate of

   duty, value, quantity, and amount of duty and Section 301 Tariffs required to be asserted by

   Plaintiff GFTC at time of entry, under subheading 0303.23.0000, HTSUS and corresponding

   subheading 9903.88.03, HTSUS.

26. Defendant CBP’s decision at the time of liquidation of entry number H77-0174660-1 to

   classify the Merchandise under subheading 0303.23.0000, HTSUS was incorrect.

27. On March 26, 2020, the USTR issued its Notice of Product Exclusions: China’s Acts,

   Policies, and Practices Related to Technology Transfer, Intellectual Property, and

   Innovation (Federal Register - 85 FR 17158 (March 26, 2020)) (“2020 NOPE”), explicitly

   and retroactively amending the language of the HTSUS in order to insert new heading

   9903.88.43, HTSUS excluding certain merchandise described in Appendix A to the 2020

   NOPE.

28. New heading 9903.88.43, HTSUS provides “Articles the product of China, as provided for in

   U.S. note 20(vv) to this subchapter, each covered by an exclusion granted by the U.S. Trade

   Representative.”

29. U.S. note 20(vv) to Chapter 99, HTSUS states in pertinent part: “The U.S. Trade

   Representative determined to establish a process by which particular products classified in




                                         Page 6 of 11
         Case 1:21-cv-00263-N/A Document 4                  Filed 05/27/21   Page 7 of 11




   heading 9903.88.03 and provided for in U.S. notes 20(e) and (f) to this subchapter could be

   excluded from the additional duties imposed by heading 9903.88.03. See 83 Fed. Reg. 47974

   (September 21, 2018) and 84 Fed. Reg. 29576 (June 24, 2019). Pursuant to the product

   exclusion process, the U.S. Trade Representative has determined that the additional duties

   provided for in heading 9903.88.03 shall not apply to the following particular products,

   which are provided for in the enumerated statistical reporting numbers:… (2) Tilapias,

   frozen, each not weighing more than 115 g (described in statistical reporting number

   0304.61.0000).”

30. On July 3, 2020, Defendant CBP liquidated entry numbers H77-0178170-7 and H77-

   0178171-5 at the rate of duty, value, quantity, and amount of duty and Section 301 Tariffs

   required to be asserted by Plaintiff GFTC at time of the respective entries, under subheading

   0304.61.0000, HTSUS and corresponding subheading 9903.88.03, HTSUS.

31. Defendant CBP’s decisions at time of its liquidation of entry numbers H77-0178170-7 and

   H77-0178171-5, to classify the Merchandise under heading 9903.88.03, HTSUS (as subject

   to Section 301 Tariffs), was incorrect.

32. On July 16, 2020, Plaintiff GFTC timely filed Protest number 460120118015 with Defendant

   CBP covering entry numbers H77-0178170-7 and H77-0178171-5, to contest Defendant

   CBP’s decision to liquidate the Merchandise under corresponding heading 9903.88.03,

   HTSUS (as subject to Section 301 Tariffs). Plaintiff GFTC’s Protest sought Defendant

   CBP’s reliquidation of entry numbers H77-0178170-7 and H77-0178171-5 in order to: (1)

   reclassify the Merchandise as products excluded from Section 301 Tariffs under

   corresponding heading 9903.88.43, HTSUS; (2) cancel in full any and all respective Section

   301 Tariffs previously assessed by Defendant CBP on the Merchandise pursuant to heading




                                             Page 7 of 11
          Case 1:21-cv-00263-N/A Document 4               Filed 05/27/21    Page 8 of 11




   9903.88.03, HTSUS; and (3) refund to Plaintiff GFTC all Section 301 Tariffs previously paid

   with respect to the Merchandise by Plaintiff GFTC to Defendant United States, through its

   agent, Defendant CBP, with any applicable interest permitted by law.

33. On July 16, 2020, Plaintiff GFTC timely filed Protest number 460120118016 with Defendant

   CBP covering entry number H77-0174660-1 to contest Defendant CBP’s decision to

   liquidate the Merchandise under subheading 0303.23.0000, HTSUS and corresponding

   subheading 9903.88.03, HTSUS (as subject to Section 301 Tariffs). Plaintiff GFTC’s Protest

   sought Defendant CBP’s reliquidation of entry number H77-0174660-1 in order to: (1)

   reclassify all imported merchandise (including the Merchandise) under subheading

   0304.61.0000, HTSUS; (2) reclassify the Merchandise as excluded from Section 301 Tariffs

   under corresponding heading 9903.88.43, HTSUS; (3) cancel in full any and all respective

   Section 301 Tariffs previously assessed against the Merchandise by Defendant CBP pursuant

   to heading 9903.88.03, HTSUS; and (4) refund to Plaintiff GFTC all respective Section 301

   Tariffs previously paid with respect to the Merchandise by Plaintiff GFTC to Defendant

   United States, through its agent, Defendant CBP, with any applicable interest permitted by

   law.

34. On December 2, 2020, Defendant CBP denied Protest number 460120118015 in part, stating

   “Protest Denied in Part. H77-01731090 untimely 244 days after of liq. [H77-01731090

   erroneously included and was subject to prior protest] H77-01731090 [sic H77-01781707]

   and H77-01781715 Denied in Part. Tilapia lines of 2-3oz approved. Tilapia lines 3-5oz, 5-

   7oz are denied. Exclusion for Tilapia, frozen, each not weighing more than 115 grams

   (4.06oz) is weight specific. It is common in the industry to contract and invoice fillets in




                                           Page 8 of 11
         Case 1:21-cv-00263-N/A Document 4                 Filed 05/27/21    Page 9 of 11




   ranges. Averaging is not allowed as we would have no indication as to what portion would be

   within the limits of the exclusion and what portion exceeds the limit.”

35. On December 2, 2020, Defendant CBP denied Protest number 460120118016 in part, stating

   “Protest Denied in Part. H77-01746601 Denied in Part. The re-classification is approved.

   Tilapia exclusion of 3-5oz is denied. Exclusion for Tilapia, frozen, each not weighing more

   than 115 grams (4.06oz) is weight specific. It is common in the industry to contract and

   invoice fillets in ranges. Averaging is not allowed as we would have no indication as to what

   portion would be within the limits of the exclusion and what portion exceeds the limit.”

                                       CAUSE OF ACTION ONE

36. Paragraphs 1 though 35 are incorporated herein by reference.

37. The identified quantities of Merchandise, which consist of 3-4 ounce (85.05–113.4 grams)

   frozen tilapia fillets, satisfy the exclusion covered by corresponding subheading 9903.88.43,

   HTSUS which covers “(2) Tilapias, frozen, each not weighing more than 115g (described in

   statistical reporting number 0304.61.0000).

38. In any civil action contesting the denial of a protest under section 515 of the Tariff Act of

   1930, this Court shall review the record de novo. Rheem Metalurgica S/A, formerly Rheem

   Empreendimentos Industriais E Comerciais S.A. v. United States, 951 F. Supp. 241, 246 (Ct.

   Int'l Trade 1996), aff'd sub nom. Rheem Metalurgica S/A v. United States, 160 F.3d 1357

   (Fed. Cir. 1998).

39. Under the de novo review standard, the Court shall consider the documents submitted to the

   Court in determining whether the Plaintiff’s claims for refund of Section 301 Tariffs paid on

   the entries covered by the Protests at issue herein.




                                            Page 9 of 11
         Case 1:21-cv-00263-N/A Document 4              Filed 05/27/21      Page 10 of 11




40. The documents submitted with the Protests (and to be submitted as part of this action)

   unequivocally establish that Defendant CBP’s denial of the Protests were incorrect, as the

   Merchandise consists of “(2) Tilapias, frozen, each not weighing more than 115 g (described

   in statistical reporting number 0304.61.0000)” and thereby, satisfies the exclusion set forth in

   heading 9903.88.43, HTSUS.

41. Plaintiff GFTC is therefore entitled to reliquidation of the entries in order to refund Section

   301 Tariffs in the amount of $18,117.31 previously assessed by Defendant CBP with respect

   to the Merchandise and paid by Plaintiff GFTC to Defendant United States.

                                     CAUSE OF ACTION TWO

42. Paragraphs 1 though 41 are incorporated herein by reference.

43. Alternatively, and without conceding the foregoing, in the event that the Court enters

   judgment in actions 21-cv-00052 (In Re Section 301 Cases), 20-cv-00177 (HTMX Industries,

   LLC, et. al. v. United States, et. al.), and/or 20-cv-02818 (Global Food Trading Corp., et. al.

   v. United States, et. al.) upholding plaintiffs’ challenges to the therein defendants’ unlawful

   imposition and collection of Section 301 Tariffs on List 3 products originating in China,

   Plaintiff GFTC is similarly entitled to reliquidation of the subject entries in order to refund

   all Section 301 Tariffs paid by Plaintiff GFTC to Defendant United States with respect to all

   frozen tilapia fillets covered by the subject entries, including the amount of $18,117.31

   previously assessed by Defendant CBP on the Merchandise at issue herein and paid by

   Plaintiff GFTC to Defendant United States through Defendant CBP.

                                         PRAYER FOR RELIEF


WHEREFORE, Plaintiff GFTC respectfully requests that this Court:

   1. declare that the Merchandise is excluded from Section 301 Tariffs;



                                           Page 10 of 11
     Case 1:21-cv-00263-N/A Document 4             Filed 05/27/21    Page 11 of 11




2. order Defendant CBP to reclassify the Merchandise as products excluded from Section

   301 Tariffs under corresponding heading 9903.88.43, HTSUS;

3. order Defendant CBP to cancel in full any and all respective Section 301 Tariffs

   previously assessed by Defendant CBP on the Merchandise pursuant to heading

   9903.88.03, HTSUS;

4. order Defendant United States and Defendant CBP to refund, with interest, any Section

   301 Tariffs paid on the Merchandise by Plaintiff GFTC, plus interest as provided by law;

5. order Defendant United States and Defendant CBP to refund, with interest, all Section

   301 Tariffs paid by Plaintiff GFTC on all merchandise imported under cover of the

   subject entries, plus interest as provided by law;

6. award Plaintiff GFTC their costs and reasonable attorney fees; and

7. grant Plaintiff GFTC such other and further relief as may be just and proper.



                                                 Dated: May 27, 2021

                                                 Respectfully submitted,

                                                 /s/ Don M. Obert

                                                 Don M. Obert
                                                 The Obert Law Firm, P.L.L.C.
                                                 1206 Castle Hill Avenue
                                                 Bronx, New York 10462
                                                 Counsel to GFTC Food Trading Corp.




                                      Page 11 of 11
